ARLINGTON N. KLINE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Kline v. CommissionerDocket No. 34444.United States Board of Tax Appeals19 B.T.A. 273; 1930 BTA LEXIS 2432; March 14, 1930, Promulgated *2432  For lack of sufficient evidence indicating error, the determination of the Commissioner is approved.  E. C. Baker, Esq., for the petitioner.  W. F. Gibbs, Esq., for the respondent.  SEAWELL*273  The Commissioner determined deficiencies in income tax for 1924 in the amount of $764.41 and for 1925 in the amount of $578.15.  The deficiency in tax for 1924 only is in controversy, the 1925 deficiency having been approved at the hearing.  The 1924 deficiency arises by reason of the Commissioner including as taxable income $14,780.85, representing a rebate received by the taxpayer in January, 1924, on certain purchases of automobiles made in 1923.  The case is submitted on certain allegations of the petition admitted in the answer.  FINDINGS OF FACT.  For several years prior to 1925 the petitioner was engaged in the purchase and sale of Studebaker automobiles, with his principal office in Reading, Pa.  The books of the petitioner were kept upon the accrual basis.  All purchases of cars made in 1923 were entered upon the books in that year, the unsold cars being entered in the inventory at December 31, 1924, according to the allegations in*2433  the petition, though the briefs indicate that December 31, 1923, was intended and have so dealt with the matter.  In January, 1924, the petitioner received from the Studebaker Corporation, from which automobiles were purchased, the sum of $14,780.85 as a rebate on the amount of purchases of cars during the year 1923, which represented additional discount from the list price, the basic discount allowed being 18 per cent.  The 60-day deficiency letter of the Commissioner is filed as an exhibit to the taxpayer's petition and indicates that in years prior *274  to 1924 it had been the practice of the petitioner to report the rebate received as income in the year in which received and that his tax returns had been accepted on the basis submitted with reference to such rebate item.  OPINION.  SEAWELL: In this case the record is very brief and the facts are few.  It is admitted in the answer that the petitioner's books were kept on the accrual basis and, having been so kept, it is contended on behalf of the petitioner that the rebate or discount of $14,780.85 allowed the petitioner by the Studebaker Corporation on the amount of purchases of cars during 1923 and received and*2434  entered on his books in January, 1924, was not income for 1924, but income for 1923, when he claims it accrued to him.  The contract of petitioner with the Studebaker Corporation is not in evidence.  No testimony whatever is adduced in support of petitioner's contention, denied by respondent, that through the inaccuracy of petitioner's bookkeeper the rebate item of $14,780.85 was included in the income of the year 1924, when it was received, rather than in the year 1923, when it is alleged it accrued to him.  It is true, as asserted by the petitioner, that taxpayers keeping their books on the accrual basis should report items of income in the year in which they accrue, regardless of the time when received.  From the deficiency letter of the Commissioner, which the petitioner filed as an exhibit to his petition, it appears that in years prior to 1924 he reported rebates similar to the present on his tax returns and the same were accepted on the basis so reported.  The petitioner, having submitted, and had accepted by the Commissioner, such tax returns for a number of years prior to 1924, should not now, for the year 1924, be permitted to take advantage of what he claims was*2435  an error but denied by the respondent, in the absence of clear and convincing proof of the correctness of petitioner's contention, and he adduces no proof.  The determination of the Commissioner is presumed to be correct until the contrary is shown.  . The burden of proof is on the taxpayer.  ; ; . In the circumstances of this case and the lack of evidence to sustain the petitioner's contention, the action of the Commissioner is approved.  Judgment will be entered for the respondent.